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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 7

    CHICKEN SOUP FOR THE                          SOUL Case No. 24-11442 (MFW)
    ENTERTAINMENT, INC., et al. 1,
                                                             (Jointly Administered)
                        Debtors.


    BRIAN SKAJEM, LISA PAPATZIMAS,
    ERIN TUTTLE, DAVID ELLENDER,
    DARA COHEN, MATT LOZE, JESSICA                           Adv. Pro. No. 24-50128 (MFW)
    STOECKELER,         HEATHER  BUNDY,
    CAREY CAMPBELL, KELLY BURKE
    HOPKINS, COURTNEY SMITH, on behalf
    of themselves and behalf of all others
    similarly situated,

                   Plaintiffs,

             v.

    CHICKEN SOUP FOR THE SOUL
    ENTERTAINMENT,    INC.;  REDBOX
    AUTOMATED RETAIL, LLC; WILLIAM J.
    ROUHANA, JR., AMY NEWMARK, JOHN
    T. YOUNG, ROBERT H. WARSHAUER,
    BART SCHWARTZ, and DOES 1-500,
    inclusive,

                    Defendants.


                                     FIRST AMENDED COMPLAINT



1
 The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification number
(where applicable), are: 757 Film Acquisition LLC (4300); Chicken Soup for the Soul Entertainment Inc. (0811);
Chicken Soup for the Soul Studios, LLC (9993); Chicken Soup for the Soul Television Group, LLC; Crackle Plus,
LLC (9379); CSS AVOD Inc. (4038); CSSESIG, LLC (7150); Digital Media Enterprises LLC; Halcyon Studios, LLC
(3312); Halcyon Television, LLC (9873); Landmark Studio Group LLC (3671); Locomotive Global, Inc. (2094);
Pivotshare, Inc. (2165); RB Second Merger Sub LLC (0754); Redbox Automated Retail, LLC (0436); Redbox
Entertainment, LLC (7085); Redbox Holdings, LLC (7338); Redbox Incentives LLC (1123); Redwood Intermediate,
LLC (2733); Screen Media Films, LLC; Screen Media Ventures, LLC (2466); and TOFG LLC (0508). The Debtors’
corporate headquarters and service address is 132 East Putnam Avenue, Floor 2W, Cos Cob, CT 06807.


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           BRIAN SKAJEM, LISA PAPATZIMAS, ERIN TUTTLE, DAVID ELLENDER, DARA

COHEN, MATT LOZE, JESSICA STOECKELER, HEATHER BUNDY, CAREY CAMPBELL,

KELLY BURKE HOPKINS, COURTNEY SMITH (defined below) (“Plaintiffs”) by and through

their undersigned counsel, hereby file this Complaint against Defendants CHICKEN SOUP FOR

THE SOUL ENTERTAINMENT, INC. (“CSSE”); REDBOX AUTOMATED RETAIL, LLC;

WILLIAM J. ROUHANA, JR., AMY NEWMARK, (collectively “Defendants”) on behalf of

themselves and the class of all other similarly situated current and former employees and common

law employees of Defendants as follows:

                                         NATURE OF THE ACTION2

           1.       This Complaint arises out of Defendants’ greed at shocking levels that one could

call criminal. In a nutshell, Plaintiffs are informed and believe that Defendants engaged in a

scheme to: (1) defraud employees out of their hard-earned compensation and siphon it away for

their own personal benefit, and (2) deduct wages from employees’ pay checks for, inter alia,

medical and/or dental insurance premiums, while allowing these policies to lapse and ultimately

get canceled. This resulted in employees unknowingly incurring millions in unreimbursed medical

expenses.

           2.       To accomplish this, Plaintiffs are informed and believe that Defendant CSSE and

its founders were engaged in an elaborate “Ponzi Scheme,” setting up multiple business entities

under the umbrella of the until-now warm-hearted brand “Chicken Soup for the Soul.”

           3.       Specifically, Plaintiffs are informed and believe that Defendants first set up the

Chicken Soup for the Soul Productions, LLC entity, and thereafter set up the corporation named

Chicken Soup for the Soul Entertainment, Inc. Under this latter company, additional entities were


2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms below.


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formed and/or acquired, including, but not limited to:

               a)     CSS AVOD, Inc.

               b)     Pivotshare, Inc.

               c)     Powerslam, Inc.

               d)     A Sharp, Inc.

               e)     Screen Media Ventures, LLC

               f)     757 Film Acquisition LLC

               g)     Digital Media Enterprises LLC

               h)     Screen Media Films, LLC

               i)     TOFG LLC

               j)     BD Productions, LLC

               k)     PH 2017, LLC

               l)     VRPTC, LLC

               m)     VRP2018, LLC

               n)     RSH00D2 017, LLC

               o)     The Fixer 2018 LLC

               p)     GFBS2, LLC

               q)     CSSESIG, LLC

               r)     Parkside Entertainment, Inc.

               s)     Halcyon Television, LLC

               t)     High Park Entertainment 20/20 Inc.

               u)     RB Second Merger Sub LLC

               v)     Chicken Soup for the Soul Television Group, LLC



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               w)     Chicken Soup for the Soul Studios, LLC

               x)     Pet Caves, LLC

               y)     Locomotive Global Holdings, Inc.

               z)     Remiz Cardoz

               aa)    Locomotive Global Holdings Inc.

               bb)    Locomotive Global Inc.

               cc)    Locomotive Media LLP

               dd)    Halcyon Studios, LLC

               ee)    Wedding Productions, LLC

               ff)    LGBT Talk, LLC

               gg)    Landmark Studio Group, LLC

               hh)    ITBB, LLC

               ii)    Safehaven 2020 Inc.

               jj)    LSG 2020, Inc.

               kk)    Redbox Automated Retail, LLC

         4.    Plaintiffs seek relief on behalf of themselves and the members of the Plaintiff class

as a result of employment policies, practices and procedures more specifically described below,

which violate the California Labor Code, and the orders and standards promulgated by the

California Department of Industrial Relations, Industrial Welfare Commission, and Division of

Labor Standards, and which have resulted in the failure of Defendants to pay Plaintiffs and

members of the Plaintiff classes all wages due to them.

         5.    Plaintiffs are informed and believe that Defendants have engaged in, among other

things, a system of willful violations of the California Labor Code, California Business and



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Professions Code, and applicable IWC wage orders by creating and maintaining policies, practices

and customs that knowingly deny employees the above stated rights and benefits.

         6.     Plaintiffs are informed and believe that the policies, practices and customs of

Defendants described above and below have further resulted in unjust enrichment of Defendants.

         7.    Plaintiffs are informed and believe that Plaintiffs were victims of the policies,

practices and customs of Defendants complained of in this action in ways that have deprived them

of the rights guaranteed to them by California Labor Code §§ 200, 201-203, 204, 226, 226(a), 510,

512, 1194, 1197, 2802, 12 California Code of Regulations § 11040, and California Business and

Professions Code §17200, et seq., (Unfair Practices Act).

         8.    Plaintiffs are informed and believe that as of 2024 alone, Defendants employed

approximately 1,200 workers.

         9.    Plaintiffs are informed and believe that at all times material hereto, each of the

Defendants named herein was the agent, employee, alter ego and/or joint venturer of, or working

in concert with each of the other Co-Defendants and was acting within the course and scope of

such agency, employment, joint venture, or concerted activity. To the extent said acts, conduct,

and omissions were perpetrated by certain Defendants, each of the remaining Defendants

confirmed and ratified said acts, conduct, and omissions of the acting Defendants.

         10.   Plaintiffs are informed and believe that at all times herein mentioned, Defendants,

and each of them, were members of, and engaged in, a joint venture, partnership and common

enterprise, and acting within the course and scope of, and in pursuance of, said joint venture,

partnership and common enterprise.

         11.   Plaintiffs are informed and believe that at all times herein mentioned, the acts and

omissions of the Defendants contributed to the various acts and omissions of each and all of the



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other Defendants in proximately causing the injuries and damages as herein alleged. At all times

herein mentioned, each Defendant ratified each and every act or omission alleged below. At all

times herein mentioned, each Defendant aided and abetted the acts and omissions of each and all

of the other Defendants in proximately causing the damages as herein alleged.

         12.      The true names and capacities of Defendants DOES 1 through 500 are unknown to

Plaintiffs, who therefore sue these Defendants by such fictitious names. Plaintiffs will seek leave

to amend this Complaint to allege such names and capacities as soon as they are ascertained.

Plaintiffs are informed and believe that each of the fictitiously named Defendants is in some

manner responsible, liable, and/or obligated to Plaintiffs and the Class in connection with the acts

alleged herein.

         13.      Plaintiffs are informed and believe that the members of the Plaintiff class, including

the Representative Plaintiffs named herein, have been employed during the Class Period. The

practices and policies which are complained of by way of this Complaint are enforced throughout

the State of California and the United States.

         14.      Prior to the Petition Date, the Plaintiffs and putative class members were employed

by the Debtors.

                                   JURISDICTION AND VENUE

         15.      This adversary proceeding is commenced pursuant to Bankruptcy Rule 7001(1), (7)

and (9) and the Class Action Fairness Act (“CAFA”) as incorporated in 28 U.S.C. § 1332(d) on

behalf of all persons who were employed by CSSE excluding the named defendants. Plaintiffs

consent to the entry of final orders or judgments by the Bankruptcy Court in this matter.

         16.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.




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         17.   This Court has personal jurisdiction over the Defendants pursuant to Rule 7004 of

the Federal Rules of Bankruptcy Procedure.

         18.   The unlawful acts alleged herein occurred in this District and others, thus venue in

this Court is proper pursuant to 28 U.S.C. § 1391.

                                            PARTIES

         19.   Plaintiffs are informed and believe that Defendant Chicken Soup For the Soul

Entertainment, Inc. is a Delaware Corporation authorized to do business throughout the United

States, including California and has done a substantial amount of business in California during the

relevant time period.

         20.   Plaintiffs are informed and believe that Redbox Automated Retail, LLC is a

Delaware Limited Liability Company authorized to do business throughout the United States,

including California and has done a substantial amount of business in California during the

relevant time period.

         21.   Plaintiffs are informed and believe that sometime during the relevant time period,

Defendant William J. Rouhana, Jr. was a corporate officer and/or board member of the CSSE

Defendants herein and is therefore liable pursuant to Labor Code section 558.1 and other governing

statutes, including the Fair Labor Standards Act (“FLSA”). Under the FLSA, there is also liability

for individuals or employers who violate wage and hour laws. Essentially, corporate officers,

directors, and managing agents can be held personally liable for FLSA violations if they are

actively involved in the decision-making/operational control that leads to those violations.

         22.   Plaintiffs are informed and believe that Defendant Rouhana violated, or caused to

be violated, Labor Code sections or provisions regulating hours and days of work within the

definition of Labor Code § 558.1 and is therefore liable for such wage and hour violations pursuant



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to such statute. Plaintiffs are further informed and believe that Defendant Rouhana had a direct

and/or active role that caused the legal violations alleged herein, including but not limited to: the

unauthorized withdrawals from employees’ pay for benefits that were not received; unpaid wages,

bonuses, and/or commissions; and/or other losses to employees.

         23.   Plaintiffs are informed and believe that during the relevant time period, Defendant

Amy Newmark was a corporate officer and/or board member of the CSSE Defendants herein who

is therefore liable pursuant to pursuant to Labor Code section 558.1 and other governing statutes,

including the FLSA. Under the FLSA, there is also liability for individuals or agents acting on

behalf of employers who violate wage and hour laws. Essentially, corporate officers, directors, and

managing agents can be held personally liable for FLSA violations if they are actively involved in

the decision-making/operational control that leads to those violations. Plaintiffs are informed and

believe that Defendant Newmark violated, or caused to be violated, Labor Code sections or

provisions regulating hours and days of work within the definition of Labor Code § 558.1 and

FLSA and is therefore liable for such wage and hour violations pursuant to such statutes. Plaintiffs

are further informed and believe that Defendant Newmark had a direct and/or active role that

caused the legal violations alleged herein, including but not limited to: the unauthorized

withdrawals from employees’ pay for benefits that were not received; unpaid wages, bonuses,

and/or commissions; and/or other losses to employees.

         24.   Plaintiffs are informed and believe that during the relevant time period, Defendant

John T. Young was a corporate officer and/or board member of the CSSE Defendants herein who

is therefore liable pursuant to pursuant to Labor Code section 558.1 and other governing statutes,

including the FLSA. Under the FLSA, there is also liability for individuals or agents acting on

behalf of employers who violate wage and hour laws. Essentially, corporate officers, directors, and



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managing agents can be held personally liable for FLSA violations if they are actively involved in

the decision-making/operational control that leads to those violations. Plaintiffs are informed and

believe that Defendant Young violated, or caused to be violated, Labor Code sections or provisions

regulating hours and days of work within the definition of Labor Code § 558.1 and FLSA and is

therefore liable for such wage and hour violations pursuant to such statutes. Plaintiffs are further

informed and believe that Defendant Young had a direct and/or active role that caused the legal

violations alleged herein, including but not limited to: the unauthorized withdrawals from

employees’ pay for benefits that were not received; unpaid wages, bonuses, and/or commissions;

and/or other losses to employees.

         25.   Plaintiffs are informed and believe that during the relevant time period, Defendant

Robert Warshauer was a corporate officer and/or board member of the CSSE Defendants herein

who is therefore liable pursuant to pursuant to Labor Code section 558.1 and other governing

statutes, including the FLSA. Under the FLSA, there is also liability for individuals or agents

acting on behalf of employers who violate wage and hour laws. Essentially, corporate officers,

directors, and managing agents can be held personally liable for FLSA violations if they are

actively involved in the decision-making/operational control that leads to those violations.

Plaintiffs are informed and believe that Defendant Warshauer violated, or caused to be violated,

Labor Code sections or provisions regulating hours and days of work within the definition of Labor

Code § 558.1 and FLSA and is therefore liable for such wage and hour violations pursuant to such

statutes. Plaintiffs are further informed and believe that Defendant Warshauer had a direct and/or

active role that caused the legal violations alleged herein, including but not limited to: the

unauthorized withdrawals from employees’ pay for benefits that were not received; unpaid wages,

bonuses, and/or commissions; and/or other losses to employees.



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         26.    Plaintiffs are informed and believe that during the relevant time period, Defendant

Bart Schwartz was a corporate officer and/or board member of the CSSE Defendants herein who

is therefore liable pursuant to pursuant to Labor Code section 558.1 and other governing statutes,

including the FLSA. Over the past 30 years, Defendant Schwartz’s impressive resume includes,

but is not limited to serving as chairman of public biopharma company KADMON; Receiver of a

Madoff feeder fund valued at $1.2 billion; Safety Monitor of General Motors, Monitor of Steven

Cohen’s hedge fund; Federal Monitor of the New York City Housing Authority for five years, an

Authority housing; Chief of the Criminal Division of the United States Attorney’s Office for the

Southern District of New York. Notably, he resigned as receiver in a white-collar fraud case after

the Securities and Exchange Commission accused him of a conflict of interest and running up fees.

https://nymag.com/intelligencer/2019/02/new-nycha-monitor-bart-schwartz-clashed-with-the-

sec.html

         27.    Plaintiffs are informed and believe that under the FLSA, there is also liability for

individuals or agents acting on behalf of employers who violate wage and hour laws. Essentially,

corporate officers, directors, and managing agents can be held personally liable for FLSA

violations if they are actively involved in the decision-making/operational control that leads to

those violations. Plaintiffs are informed and believe that Defendant Schwartz violated, or caused

to be violated, Labor Code sections or provisions regulating hours and days of work within the

definition of Labor Code § 558.1 and FLSA and is therefore liable for such wage and hour

violations pursuant to such statutes. Plaintiffs are further informed and believe that Defendant

Schwartz had a direct and/or active role that caused the legal violations alleged herein, including

but not limited to: the unauthorized withdrawals from employees’ pay for benefits that were not

received; unpaid wages, bonuses, and/or commissions; and/or other losses to employees.



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          28.     Plaintiffs are informed and believe that HPS Partners, LLC touts itself as a “leading

global investment firm” whose clients have entrusted them with approximately “$148 billion of

assets under management as of September 2024.” About Us: Creating value for our clients, HPS

Partners Home Page, http://hpspartners.com/en/home/ (last visited January 26, 2025).

          29.     Plaintiffs Brian Skajem, Lisa Papatzimas, Erin Tuttle, David Ellender, Dara Cohen,

Matt Loze, Jessica Stoeckeler, Heather Bundy, Carey Campbell, Kelly Burke Hopkins, Courtney

Smith were employed by Defendant CSSE during the relevant class periods.

                                    CLASS ACTION ALLEGATIONS

          30.     Plaintiffs bring this class action pursuant to Rules 7023(a) and (b)(3) of the Federal

    Rules of Bankruptcy and Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure on behalf

    of a class of all similarly situated persons who were employed by CSSE during the relevant time

    periods3. Plaintiffs propose the following subclasses (the “Class”), subject to refinement:

                  California Sub-Class:

                  All individuals employed by Defendants other than the named Defendants

                  who were employed in California within four (4) years of the filing of this

                  action and the entry of judgment in this case.

                  Nationwide Sub-class:

                  All current and former employees of Defendants other than the named

                  Defendants who were employed in the United States within three (3) years

                  of the filing of this class action and the entry of judgment in this case.

                  (collectively, “Plaintiff Class” or “Class Members”)

          31.     The claims involving the Nationwide Subclass have been brought and may properly


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 Plaintiffs initially filed this case in Los Angeles Superior Court on July 19, 2024. The case was dismissed without
prejudice as to CSSE.

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be maintained under 29 U.S.C. § 201, et seq, because there is a well-defined community of interest

in the litigation, and the proposed Nationwide Subclass is easily ascertainable by examination of

the employment records that Defendants are required to maintain by law, including but not limited

to employee payroll records.

         32.    Plaintiffs are informed and believe that at all relevant times, Plaintiffs and the other

Nationwide Subclass members are, and have been, similarly situated and subject to Defendants’

decisions, policies, plans, practices, procedures, routines, and/or rules that have resulted in lost

wages, unauthorized deductions from wages and unpaid benefits. The claims of Plaintiffs herein

are essentially the same as those of the other Nationwide Subclass members. Plaintiffs allege that

during the Nationwide Subclass Period, they are and were:

                a.     individuals who resided in the United States of America;

                b.     employed as employees for Defendants in the United States within the three

                       years preceding the filing of the complaint herein;

                c.     owed compensation from Defendants in the form of wages, commissions,

                       and/or non-discretionary bonuses and/or PTO;

                d.     not paid timely wages by defendants;

                e.     subjected to unauthorized deductions in pay by defendants;

                f.     incurred unreimbursed expenses while employed; and

                g.     incurred out of pocket medical and/or dental expenses that defendant failed

                       to reimburse.

         33.    This action has been brought and may properly be maintained as a class action,

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, because there is a well-

defined community of interest in the litigation and the proposed class is easily ascertainable:



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                     a.      Numerosity—Rule 23(a)(1): The Class is so numerous that the

              individual joinder of all members is impracticable under the circumstances. While

              the exact number of members of the Class is unknown to Plaintiffs at this time, the

              proposed Class exceeds over 2,000 individuals. Plaintiffs are informed and believe

              that the class members and their identities can be identified from the Defendants’

              books and records. The Class is believed to be more than sufficient to satisfy the

              numerosity requirement of this Court.

                     b.      Common Questions of Law and Fact Predominate—Rule

              23(a)(2): Common questions of law and fact exist as to all Class members and

              predominate over questions that affect only individual Class members. These

              common questions of law and fact include, without limitation:

                             •       Whether the Plaintiffs and members of the Plaintiff Class

                     were employees of Defendants;

                             •       Whether Defendants failed to pay compensation owed to the

                     members of the Class;

                             •       Whether Defendants made unauthorized deductions to pay

                     the members of the Class;

                             •       Whether Defendants failed to reimburse expenses;

                             •       Whether Defendants caused members of the class to incur

                     out of pocket medical and/or dental expenses;

                             •       Whether Defendants failed to pay members of the class on a

                     timely basis;

                             •       Whether Defendants failed to keep adequate records for the


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                     members of the Class pursuant to California Labor Code §226(a) (and the

                     consequence for such statutory violations if Defendants did not);

                             •       Whether the members of the Classes that are no longer

                     employed by the Defendants are entitled to penalties pursuant to California

                     Labor Code §203;

                             •       Whether Defendants unlawfully and/or willfully failed to

                     promptly pay compensation owing to Plaintiffs and members of the class

                     upon termination of their employment, in violation of California Labor

                     Code §§ 201-203;

                             •       Whether Defendants unlawfully and/or willfully failed to

                     provide Plaintiffs and members of the Plaintiff Class with true and proper

                     wage statements upon payment of wages, in violation of California Labor

                     Code section 226;

                             •       Whether Plaintiffs and members of the Plaintiff Class

                     sustained damages, and if so, the proper measure of such damages, as well

                     as interest, penalties, costs, attorneys’ fees, and equitable relief;

                             •       Whether Defendants’ conduct as alleged herein violates the

                     Unfair Business Practices Act of California, Bus. & Prof. Code § 17200, et

                     seq.


                     c. Typicality—Rule 23(a)(3): Plaintiffs’ claims are typical of the claims of

              the Class members. Plaintiffs and Class members sustained injuries and damages

              arising out of Defendants’ common course of conduct in violation of law as

              complained of herein. The injuries and damages of each member of the Class were

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              caused directly by Defendants’ wrongful conduct in violation of law as alleged

              herein.

                        d. Adequacy—Rule 23(a)(4); Rule 23(g)(1): Plaintiffs are members of the

              Class and will fairly and adequately protect the interests of the Class. Plaintiffs are

              adequate representatives of the Class as they have no interests adverse to the

              interests of absent Class members. Each representative was an employee of CSSE.

              Plaintiffs have retained the undersigned counsel, which have substantial experience

              and success in the prosecution of complex actions.

                        e. Superiority—Rule 23(b)(3): A class action is superior to other means

              for the fair and efficient adjudication of this controversy. Individual joinder of all

              members of the Class is impracticable. Class action treatment will permit a high

              number of similarly situated persons to prosecute their common claims in a single

              forum simultaneously, efficiently, and without the unnecessary duplication of effort

              and expense that numerous individual actions would engender. The damages

              suffered by each individual Class member are the same throughout. The expenses

              and burden of individual litigation would make it difficult or impossible for

              individual members of the class to redress the wrongs done to them, while an

              important public interest will be served by addressing the matter as a class action.

              The cost to the court system of adjudication of such individualized litigation would

              be substantial. Individualized litigation would also present the potential for

              inconsistent or contradictory judgments that would be dispositive of the interests of

              other members not parties to the individual adjudications and would substantially

              impair or impede their ability to protect their interests.



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         34.    Plaintiffs are unaware of any difficulties likely to be encountered in the

management of this action that would preclude its maintenance as a class action. The trial of this

class action will be manageable because the claims and defenses will be subject to class-wide

proof.

         35.    This is also an action for a declaratory judgment under 28 U.S.C. §§2201 and 2202

and for unpaid wages and other compensation, interest thereon, liquidated damages, costs of suit,

attorneys’ fees, and other relief under the FLSA, 29 U.S.C. §201, et seq. These individuals

constitute a well-defined community of interest in the questions of law and fact in this case. The

claims of the Plaintiffs are typical of the claims of those similarly situated. Thus, the Plaintiffs will

fairly and adequately reflect and represent the interests of those similarly situated and have retained

counsel competent and experienced in class action and FLSA litigation.

         36.    The Class meets the requirements of Fed. R. Civ. P. 23(a) for class certification.

         37.    The Class meets the requirements of Fed. R. Civ. P. 23(b)(3) because the questions

of law or fact common to the members of the Class predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

                                   FACTUAL ALLEGATIONS

         38.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         39.    This class action is brought on behalf of all California and United States employees.

         40.    Plaintiffs are informed and believe that Defendants Rouhana and Newmark (who

are married) have been previously accused of misappropriation of funds, leading to bankruptcy.

         41.    Plaintiffs are informed and believe that in the late 1980s, Defendant Rouhana was

an executive at Management Company Entertainment Group (“MCEG”), producing films with big



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actors like John Travolta and Bruce Willis. However, MCEG filed for bankruptcy in 1990. The

bankruptcy filing was shortly after Defendant Rouhana informed the LA Times that MCEG

financially sound. It was alleged in that scenario that instead Defendant Rouhana, “cooked the

books” to only make it look like the company was financially sound.

         42.     Plaintiffs are informed and believe that thereafter, Defendant Rouhana was

involved with a company called Lancit Media. Thereafter the Lancit stock price increased nearly

500%, and Defendant Rouhana sold hundreds of thousands of dollars of his stock. Soon after,

fractures appeared in the story of the company. It started to struggle and ultimately failed as a

public entity. However, it appears that Defendant Rouhana was able to get his money out.

         43.     Plaintiffs are informed and believe that Defendants Rouhana and Newmark started

Winstar Communications together in the 1990s. Similar to Lancit, the stock soared shortly

thereafter. However, again, numerous news outlets started reporting that stakeholders were

publicly calling out Defendant Rouhana’s self-dealing. Specifically, it was alleged that Winstar

was allegedly purchasing “consulting services” from companies owned by Defendant Rouhana.

Bloomberg reported in 1995: “under the leadership of [] Rouhana, chairman and chief executive,

Winstar’s cash has been used to enrich him and his associates in less-than-arms-length

transactions.” Winstar later filed for bankruptcy after fraud allegations. It was reported in 2002

that there had been a lot of “phony revenue” as Winstar had raised over $1 billion from investors,

but            failed       to        generate            a        profit.       See,         e.g.

https://www.washingtonpost.com/archive/business/2002/03/09/new-owner-to-raise-concerns-on-

winstars-books/013bf310-767c-4ab6-9400-f3fa84037974/




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         44.    Plaintiffs are informed and believe that Defendants Rouhana and Newmark

previously purchased the “warm hearted” brand Chicken Soup for the Soul (CSS) in 2008 and later

formed Chicken Soup for the Soul Entertainment (CSSE) in 2017.

         45.    Plaintiffs are informed and believe that the two different companies were formed,

inter alia, for the purpose of self-dealing. As explained herein, Defendants Rouhana and Newmark

are both involved in CSS and CSSE, the latter of which has a complex structure of subsidiaries (as

outlined herein), and the former has a book publication and a business entity for pet food.

Resources and some key executives have been shared across companies when it benefits

Defendants Rouhana and Newmark. For instance, employee Chris Mitchell was listed as the Chief

Financial Officer for CSS and CSSE, as well for the pet food company, Crackle, and the publishing

company.

         46.    Plaintiffs are informed and believe that in or around 2020, Defendant Rouhana

entered into talks to purchase Redbox.

         47.    Plaintiffs are informed and believe that CSSE acquired Redbox in August 2022 – a

company with over $300 million in debt - in part from financing from HPS, who had apparently

not performed due diligence regarding Defendant Rouhana and Newmark.

         48.    Plaintiffs are informed and believe that at the time of the acquisition, Redbox had

a longtime CEO. However, in January 2023 the Redbox CEO left, giving Defendant Rouhana

control.

         49.    Plaintiffs are informed and believe that in or around April 2023 after recognizing

that they were involved with a sinking ship, HPS refused to fund a $40 million loan to CSSE.

However, the consequence that spiraled thereafter that payroll issues for employees. As explained

infra, this would have drastic effects on employees.



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          50.    Plaintiffs are informed and believe that Defendants have engaged in a pattern and

practice of delaying payroll to employees and sometimes not paying employees their wages,

commissions, PTO, and/or non-discretionary bonuses at all.

          51.    Plaintiffs are informed and believe that, in late 2023, Defendants switched health

insurance providers, from Premera to Anthem to begin January 1, 2024. Plaintiffs and class

members were thereafter informed that the December 2023 benefits with Premera were being

denied.

          52.    Plaintiffs are informed and believe that Defendants sent an initial correspondence

acknowledging the issue with the denial of benefits in late January 2024, and over the next few

months continued to state they were working on it. However, at no time did Defendants indicate

that Plaintiffs and class members were not covered for health insurance. Moreover, during this

time, Defendants continued to deduct wages for health insurance from employees’ pay.

          53.    Plaintiffs are informed and believe that sometime in 2024, Defendants ceased

providing dental and life insurance benefits to employees yet still deducted these premiums from

employees’ pay. After ceasing to provide those benefits, Defendants falsely represented that such

benefits were still active. Additionally, Plaintiffs are informed and believe that at no time thereafter

did Anthem provide direct notice to employees that they were no longer covered for health

insurance.

          54.    Plaintiffs are informed and believe that on or about April 18, 2024, Defendants and

their agents caused corporate-wide correspondence to be issued stating that the Premera health

claims from December 2023 had been reinstated.

          55.    Plaintiffs are informed and believe that on or about May 3, 2024, two additional

“independent” board members – Defendant Young and Defendant Warshauer were added to the



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CSSE board at the behest of HPS and as amendments to Defendant CSSE’s charter documents.

Defendant Young was touted as having deep experience in restructuring advisory matters,

including serving as a chief restructuring officer of, or restructuring advisor to, numerous gas, oil

and utility companies. Defendant Warshauer was touted as being an experienced executive with

decades of experience providing operational, financial and investment banking expertise to public

and private companies. Despite their impressive resumes, Defendants Young and Warshauer failed

perform due diligence to, inter alia, ensure that employees were paid properly in the ensuing weeks

and months. What would immediately follow under their “independent” oversight would have dire

consequences for the employees and their families.

         56.    Plaintiffs are informed and believe that, again in May 2024, employees started

having their claims denied by the new provider Anthem. Over the following weeks there was little

official information from the Defendants. However, the unofficial general recommendation by

Defendant Rouhana was to avoid any non-emergency medical services and to basically use best

judgement for non-emergency medical issues.

         57.    Plaintiffs are informed and believe that on or about June 18, 2024, Defendants

finally informed employees that Anthem had terminated the plan and was denying all claims as of

May 14, 2024. Any claims submitted after May 13, 2024 would be denied, regardless of the date

of service even in prior months if not already processed. This is despite medical premiums

continuing to be deducted from paychecks, including June 2024 pay.

         58.    Plaintiffs are informed and believe that, in or around Spring 2024, Defendants also

stopped contributing to 401(k) plans and/or HSA plans yet still deducted such amounts from

Plaintiffs’ and class members’ pay.




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         59.    Plaintiffs are informed and believe that on or about June 28, 2024 Defendant

Chicken Soup for the Soul Entertainment, Inc., et al., filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. The Court stated that it found it “sickening” that money

deducted from workers’ pay that was supposed to be used to for health insurance was possibly

diverted and that payroll had been missed due to a misuse of funds by corporate management. See

Winston Cho, As Redbox Collapses, 1,000 Employees Haven’t Been Paid, Judge Says, The

Hollywood Reporter, July 11, 2024: https://www.hollywoodreporter.com/business/business-

news/redbox-parent-company-alleged-financial-mismanagement-1235946465/.

         60.    Plaintiffs are informed and believe that in another bankruptcy court filing regarding

the Chicken Soup for the Soul Entertainment Entity, it was noted that “in 2022 and 2023

approximate $18.4 million of management and license fees was paid each year to Defendant

Rouhana or entities he controlled. And in the three months ended March 31, 2024, the Debtors

paid a total of $9 million in management and license fees. These management and license

agreements, which were negotiated between entities controlled by Defendant Rouhana (i.e.

Defendant Rouhana was on both sides of the transaction) required the Debtors to pay

approximately 10% of their gross revenues to Defendant Rouhana’s companies.” Case 24-11442-

TMH Doc. 29, filed 7-1-24.

         61.    Plaintiffs are informed and believe that in or around late June 2024, Defendant

Rouhana stepped down as CEO of CSSE, and Defendant Schwartz stepped in as interim CEO.

However, Defendant Schwartz failed to perform due diligence as to how much employees were

owed for issues related to unpaid wages and benefits, and to what extent employees have been

harmed by Defendants’ knowing failure to provide insurance despite deducting said premiums

from wages. Thus, despite failing to conduct an adequate investigation or inquire of the appropriate



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parties, Defendant Schwartz “advocated” to the bankruptcy court on behalf of reinstituting

employee payroll and certain insurance premium payments. However, like the other Defendants,

because Defendant Schwartz, despite his impressive resume on other issues not relating to

employee payroll (see supra), failed perform due diligence regarding unpaid wages, benefits,

premiums, and out of pocket expenses, Plaintiffs and class members have been harmed. Plaintiffs

are informed and believe that Defendant Schwartz’s short tenure as interim CEO was marred with

problems, as well as the appearance of impropriety and collusion. Defendant Schwartz has since

stepped down as CEO.

         62.    Plaintiffs are informed and believe that Defendants, and each of them, are engaged

in a pattern and practice of finger pointing at one other – to the detriment of the employees and

their families. According to HPS, shortly before the bankruptcy filing, Defendant Rouhana fired

all other board members, including directors approved by HPS. HPS has declared CSSE’s first

day motions to be “not only half-baked, but shocking in their lies, inaccuracies, and lack of merit.”

This included a DIP motion that sought to prime a collateral securing $500 million in debt. HPS

– ostensibly trying to secure funding to reinstate employees’ insurance benefits and wages - later

secured DIP financing for merely $8 million and refused to pay more. Defendants have done a

disservice to the employees, as shortly after the insufficient funding was approved, the bankruptcy

was converted from a Chapter 11 to a Chapter 7. As a result, thousands of employees were

subsequently out of jobs.

         63.    Plaintiffs are informed and believe that at times relevant, Defendants represented

to Plaintiffs and the putative class, inter alia, that: 1) they would be paid for all hours worked

and/or non-discretionary bonuses and/or commissions, and/or PTO; 2) that they would be

reimbursed for business-related expenses, such as over-draft fees and/or travel expenses and/or



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issues for company vehicles; 3) that they would be covered for medical, dental, disability, vision

401(k) and/or life insurance benefits, and/or FSA/HSA if they were deducted for premiums and/or

other benefits; 4) that Defendants were paying to the relevant taxing authorities when they were

making deductions; 5) that Defendants would be paying into Social Security and Medicare if such

deductions were made. Plaintiffs are informed and believe that despite deductions being noted on

pay stubs, that sometime starting in 2022 or thereafter Defendants were not causing these payments

to be made.

         64.    Plaintiffs are informed and believe that Plaintiffs relied on Defendants’ statements

and representations that they would be appropriately compensated, receive benefits, and continued

to work to their detriment and with justifiable reliance on Defendants’ representations. Plaintiffs

have suffered the damages and injuries alleged and Defendants’ misrepresentations are/were the

proximate and direct cause of these injuries and damages.

         65.    Plaintiffs and members of the plaintiff class seek unpaid wages, penalties, other

compensation, and damages from Defendants for the relevant time period because Defendants

improperly:

                a.     Failed to pay Plaintiffs and the other members of the class appropriate

                       wages;

                b.     Failed to reimburse expenses;

                c.     Made unauthorized deductions from pay;

                d.     Failed to provide benefits after making unauthorized deductions from pay;

                e.     Failed to timely pay Plaintiffs and the class;

                f.     Misrepresented to Plaintiffs and the class that they were covered for

                       benefits, causing Plaintiffs and the class to incur not only substantial



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                       expenses for inter alia medical and/or dental;

                g.     Failed to maintain accurate records for Plaintiffs and the other members of

                       the plaintiff class pursuant to California Labor Code § 226(a).

         66.    Plaintiffs are informed and believe that at all relevant times hereto, Defendants

controlled Plaintiffs’ and the class members’ recompense, determining pay, whether class

members would in fact be paid timely, partially, or at all, whether commissions and/or bonuses

and/or PTO would be paid, what items are reimbursable, and/or what benefits would be covered

despite deducting from employees’ pay for such benefits.

         67.    Plaintiffs are informed and believe that Plaintiffs and other employees, at all

relevant times worked under and subject to the control of Defendants as set forth in Defendants’

numerous general overarching policies, practices, and procedures.

         68.    Plaintiffs are informed and believe that, as a matter of policy and/or practice,

Defendants routinely permitted Plaintiff and plaintiff class members to work portions of the day

during which they were subject to Defendants’ control and failed to compensate them.

         69.    At all times, relevant hereto, California Labor Code § 201 required an employer

that discharges an employee to pay compensation due and owing to said employee immediately

upon discharge. California Labor Code § 202 requires an employer to pay an employee who quits

any compensation due and owing to said employee within seventy-two (72) hours of an

employee’s resignation. California Labor Code § 203 provides that if an employer willfully fails

to pay compensation promptly upon discharge or resignation, as required under Sections 201 and

202, then the employer is liable for waiting time penalties in the form of continued compensation

for up to thirty (30) workdays.

         70.    Plaintiffs are informed and believe that Defendants willfully and knowingly failed



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to pay Plaintiff and the members of the plaintiff class, upon termination of employment, all accrued

compensation.

         71.    Plaintiffs are informed and believe that Plaintiffs, and members of the Plaintiff

Class were, and are, routinely provided wage statements which do not truly and accurately reflect

the wages due to them.

         72.    Plaintiffs are informed and believe that Defendants are and were advised by skilled

lawyers, other professionals, employees with human resources background and advisors with

knowledge of the requirements of wage and hour laws.

         73.    Plaintiffs are informed and believe that at all relevant times, Defendants had a

consistent policy or practice of failing to compensate the plaintiff class members, including

Plaintiffs, for all wages due.

                                             COUNT I
                                              FRAUD

         74.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         75.    Plaintiffs are informed and believe that Defendants concealed and suppressed

material facts about their intentions for employees to be covered for medical and/or dental benefits.

         76.    Once Defendants knew that Plaintiffs and class members were no longer covered

for benefits, they should have immediately ceased deducting said premiums from employees’ pay

and informed employees that they were not covered under any policy.

         77.    Plaintiffs are informed and believe Defendants intentionally concealed or

suppressed their disregard for their employees, intending to defraud Plaintiffs and Class Members

and intending to conceal the fact that the benefits no longer existed.

         78.    Plaintiffs were unaware and would not have acted as they did if they had known of

the concealed or suppressed facts. The concealed facts were material in that a reasonable person


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in Plaintiffs’ and class members’ position would have found it important in determining how they

would have acted. Plaintiffs acted reasonably in relying on Defendants· misrepresentations.

         79.    Plaintiffs and class members have incurred substantial out of pocket expenses as a

result of Defendants’ misrepresentation that they had health and dental insurance. Plaintiffs are

informed and believe that it was Defendants’ intent to fraudulently, deceptively, and pretextually

acquire deceive employees for an extended period of time so that Defendant could abscond with

these wages for their own personal benefit.

         80.    As a direct and proximate result of Defendant's misrepresentations, Plaintiffs and

Class Members have suffered damages as described above and, in an amount, according to proof.

         81.    As a direct and proximate result of Defendant's misrepresentations, Plaintiffs and

Class Members pray for punitive damages, in an amount, according to proof.

                                            COUNT II
                                           CONVERSION

         82.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         83.    Plaintiffs have an absolute, unconditional, and fully vested right to their wages

earned from work performed.

         84.    Defendants have refused, retained, and converted those funds.

         85.    By failing to pay and converting Plaintiffs and class members’ share for their own

benefit or for the benefit of others, Defendants are strictly liable.

         86.    Plaintiffs are informed and believe that Defendants acted with malice and

intentionally attempted to conceal or ‘use liquid assets up’ frivolously for personal expenses and

avoid paying employees.

         87.    Plaintiffs are informed and believe that all Defendants acted to convert Plaintiffs’

share of monies to deprive Plaintiffs’ and class members’ share and to create the impression of a


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lack of liquid funds so as to deceive Plaintiffs and class members and claim an inability to pay.

         88.    Plaintiffs are informed and believe that Defendants acted with oppression, fraud,

malice, and in conscious disregard of Plaintiffs’ and Class Members’ rights, or emotional distress,

depriving them of their property and legal rights. Defendants’ conduct subjected Plaintiffs to cruel

and unjust hardship such that an award of exemplary and punitive damages is proper and justified.

         89.    As a direct and proximate result of Defendants’ conversion of Plaintiffs’ equitable

share, Plaintiffs have suffered significant economic damages. and pray for relief further set forth

below.

                                        COUNT III
                                  FAILURE TO PAY WAGES

         90.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         91.    Defendants have failed and refused to pay to Plaintiffs and each member of the

Plaintiff Class all wages due to them in compliance with California Labor Code. Plaintiffs and the

other members of the Plaintiff Class were not routinely paid for all wages, commissions, and/or

non-discretionary bonuses and/or PTO due.

         92.    As a direct and proximate result of the acts and/or omissions of each Defendants,

Plaintiff and each member of the Plaintiff Class has been deprived of wages due in amounts to be

determined at trial.

         93.    As a result of Defendants’ failure to pay Plaintiffs and the members of the Plaintiff

Class all wages due, Plaintiff and members of the Plaintiff Class are entitled to each recover the

unpaid wages in an amount equal to the wages unlawfully unpaid, liquidated damages in an amount

equal to the wages unpaid, plus interest, fees and costs thereon.

         94.    Plaintiff incorporates all preceding paragraphs as though fully set for herein.

         95.    As a direct and proximate result of the acts and/or omissions of each Defendant,


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Plaintiff and each member of the Plaintiff Class has been deprived of minimum wages due in

amounts to be determined at trial.

                                        COUNT IV
                              FAILURE TO TIMELY PAY WAGES

         96.     Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

         97.     Defendants failed and refused to pay Plaintiffs and each member of the Plaintiff

Class all timely wages due to them in compliance with California Labor Code §204.

         98.     As a direct and proximate result of the acts and/or omissions of each Defendant,

Plaintiff and each member of the Plaintiff Class are entitled to penalties for such late payment,

including but not limited to penalties pursuant to Labor Code §210.

                                    COUNT V
                   VIOLATION OF LABOR CODE SECTION 221, ET SEQ.

         99.     Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         100.    Plaintiffs are informed and believe that Defendants have secreted portions of wages

due to employees, in violation of California Labor Code §221, et seq. Labor Code §221 makes it

unlawful for “any employer to collect or receive from an employee any part of wages theretofore

paid by said employer to said employee.”

         101.    Specifically, Plaintiffs are informed and believe that Defendants collected or

received significant sums from Plaintiffs’ and Class Members wages that were labeled as health

and/or dental insurance premiums, 401(k) contributions, and/or other benefit contributions.

         102.    As a direct and proximate result of the acts and/or omissions of each Defendant,

Plaintiffs and each member of the Plaintiff Class have been damaged in an amount to be proven at

trial as they have been deprived of wages and also out of pocket expenses.



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                            COUNT VI
  FAILURE TO REIMBURSE EXPENSES IN VIOLATION OF CALIFORNIA LABOR
                         CODE SECTION 2802

         103.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         104.    Pursuant to California Labor Code §2802, Defendant is required to reimburse

employees for expenses incurred during the performance of their job duties.

         105.    Defendant did not reimburse Plaintiffs and class members for expenses incurred as

a condition of the discharge of their employment duties.

         106.    As a proximate result of this violation, Plaintiffs have been damaged in an amount

according to proof at the time of trial.

                                   COUNT VII
                 FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS
                  IN VIOLATION OF CALIFORNIA LABOR CODE 226(A)

         107.    Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

         108.    California Labor Code § 226(a) sets forth reporting requirements for employers

when they pay wages, as follows:

         “Every employer shall . . . at the time of each payment of wages, furnish his or her

         employees . . . an itemized statement in writing showing (1) gross wages earned;

         (2) total hours worked by the employee . . .”

Section (e) provides:

         “An employee suffering injury as a result of a knowing and intentional failure by

         an employer to comply with subdivision (a) shall be entitled to recover the greater

         of all actual damages or fifty dollars ($50) for the initial pay period in which a

         violation occurs and one hundred dollars ($100) per employee for each violation in

         a subsequent pay period, not exceeding an aggregate penalty of four thousand

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         dollars ($4000), and shall be entitled to an award of costs and reasonable attorneys’

         fees.”

         109.     Plaintiffs and members of the Plaintiff Class were damaged by this failure to

provide accurate wage statements because, among other things, Plaintiffs and members of the

Plaintiff Class were unable to determine the proper amount of wages owed to them, and whether

they had received full compensation therefore. Plaintiffs’ wage statements were often entirely

inaccurate as they stated inter alia that 1) certain compensation was provided when it actually was

not, 2) benefits were provided when they were not, or 3) employer contributions were made when

they were not.

         110.     Plaintiffs and members of the Plaintiff Class request recovery of California Labor

Code § 226(e) penalties according to proof, as well as interest, attorneys’ fees and costs pursuant

to California Labor Code § 226(e), and all other damages, attorneys’ fees, costs, expenses and

interest permitted by statute.

                                   COUNT VIII
                        FAILURE TO PAY WAGES AT TIME OF
                  TERMINATION (CALIFORNIA LABOR CODE §§ 201-203)

         111.     Plaintiffs re-allege and incorporate all preceding paragraphs as though fully set

forth herein.

         112.     At all times relevant herein, Defendants were required to pay its employees all

wages owed in a timely fashion during and at the end of their employment, pursuant to California

Labor Code §§ 201-203.

         113.     Numerous employees no longer work for Defendants. As a pattern and practice,

Defendants failed to pay proper final wages pursuant to California Labor Code §§ 201-203, and

accordingly owe waiting time penalties pursuant to California Labor Code § 203.



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         114.    The conduct of Defendants and its agents and managerial employees as described

herein was willful, and in violation of the rights of Plaintiff and the class members.

         115.    Defendants’ willful failure to pay wages due and owing them upon separation from

employment results in a continued payment of wages up to thirty (30) days from the time the wages

were due. Therefore, Plaintiffs and class members who have separated from employment are

entitled to compensation pursuant to California Labor Code § 203.

                                    COUNT IX
                   VIOLATION OF THE FAIR LABOR STANDARDS ACT

         116.    Plaintiffs re-alleges and incorporates all preceding paragraphs as though fully set

forth herein.

         117.    The Fair Labor Standards Act, 29 U.S.C. § 201, et seq., states that an employee

must be compensated for all hours worked. 29 C.F.R. § 778.223 and 29 C.F.R. § 778.315. This

Court has concurrent jurisdiction over claims involving the Fair Labor Standards Act pursuant to

29 U.S.C. § 216.

         118.    Each Defendant is individually liable for the FLSA violations alleged herein and/or

were joint-employers of Plaintiffs and the class and similarly situated employees at the time said

violations, based on, but not limited to, one or more of the following circumstances: FLSA

Plaintiffs performed work which simultaneously benefited two or more Defendants; one or more

Defendants was acting directly or indirectly in the interest of the other employer (or employers) in

relation to Plaintiffs and the class ; one or more Defendants were not completely disassociated

with respect to the employment of Plaintiffs and the class and may be deemed to have shared

control of the employees, , directly or indirectly, by reason of the fact that one or more Defendants

controls, is controlled by, or is under common control with one or more of the other Defendants. 29

U.S.C. § 203(d); 29 C.R.R. § 791.2(b).

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          119.    Plaintiffs are informed and believe that, for the purposes of the Fair Labor

Standards Act, the employment practices of Defendants were and are uniform throughout the

United States in all respects material to the claims asserted in this Complaint.

          120.    Plaintiffs are informed and believe that the FLSA violations alleged herein are

attributable to each Defendant as a consequence of its/his/her authority over and/or responsibility

for the decisions that resulted in said violations; each individual-Defendant was a corporate officer

of or managing member of any entity-Defendant, with a significant ownership interest in the same;

each Defendant exercised control over significant aspects of the day-to-day operations of the other

Defendant, including but not limited to compensation to employees; each Defendant had the power

to hire and fire employees such as Plaintiffs and the class; each Defendant supervised and

controlled work schedules and conditions of employment; each Defendant determined the rate and

method of payment for employees; each Defendant directed work activities; each Defendant

controlled the maintenance and/or maintained employment records; each Defendant had to power

to act on behalf of the other Defendant, vis-à-vis its employees; each Defendant was ultimately in

a position of authority over the business decisions that led to the violations of overtime laws

alleged herein; Each Defendant functioned for each of the other Defendant's profit; and/or other

facts and circumstances that may be stated under the “economic realities” analysis. 29 U.S.C. §

203(d).

          121.    Plaintiffs are informed and believe that Defendants willfully failed to pay Plaintiffs

and the class members compensation due and withheld pay and benefits in violation of the FLSA.

          122.    At all times mentioned herein, Defendants failed to keep records required by the

FLSA, in violation of 29 U.S.C. § 211(c) and 29 C.F.R. §§ 516.1, 516.5, and 516.6.

          123.    As a result of each Defendant’s conduct, FLSA Plaintiffs have been damaged and



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are owed unpaid compensation, entitled to reimbursement of expenses, punitive damages,

liquidated damages under are entitled to pre-judgment interest if liquidated damages are not

awarded, and reasonable attorney's fees and costs of suit, pursuant to 29 U.S.C. § 216(b).

         124.    This Complaint is based on the failure of the Defendants to compensate the

Plaintiffs and the FLSA Plaintiff Class for all wages, pay the regular rate of pay pursuant to 29

U.S.C. § 207(e), and include all remuneration, reimburse expenses, and compensation for benefits.

         125.    As a result of the willful actions of the named Defendants in reckless disregard of

the rights of the named Plaintiffs and the Class, Plaintiff and the members of the FLSA Plaintiff

Class have suffered damages.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, on behalf of themselves, and on behalf of the members of the

Plaintiff Class, pray for judgment against Defendants as follows:

    1.       Certification that the Plaintiffs and the other Class Members constitute a class;

    2.       Appointment of the undersigned attorneys as Class counsel;

    3.       Appointment of Plaintiffs as the Class Representatives;

    4.       For general damages according to proof;

    5.       For special damages according to proof;

    6.       For out-of-pocket expenses for medical and/or dental care, and/or benefits according

             to proof;

    7.       For restoration of life, health, dental, and/or other benefits;

    8.       For reimbursement of expenses according to proof;

    9.       For prejudgment and post-judgment interest according to any provision of law, and

             according to proof;



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    10.      For costs of suit and reasonable attorneys' fees as provided by law;

    11.      For an order the Defendants to deliver to Plaintiffs and account for, property in their

             possession, custody, and/or control that could be used, sold, or leased under 11 U.S.C.

             § 363;

    12.      For punitive damages as provided by law;

    13.      For a declaratory judgment that Plaintiffs are entitled to unpaid wages and other

             compensation, interest thereon, liquidated damages, costs of suit, attorneys’ fees, and

             other relief under the FLSA;

    14.      For disgorgement of profits as well as restitutionary, declaratory, and equitable

             remedies authorized by the Business and Professions Code, section 17203; and,

    15.      For such other and further relief as the Court deems proper.

                                        [Signatures to Follow]




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Dated: May 8, 2025
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